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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

DEBORAH LAUFER,                                 *

        Plaintiff,                              *

   v.                                           *           Civil Action No. 8:20-cv-1974-PX

FT. MEADE HOSPITALITY, LLC,                     *

        Defendant.                            *
                                             ***
                                            ORDER


        For the reasons stated in the foregoing Memorandum Opinion, it is this 10th day of

November 2020, by the United States District Court for the District of Maryland, ORDERED

that Plaintiff Deborah Laufer’s Motion for Default Judgment (ECF No. 7) is DENIED. The

Clerk is directed to DISMISS the Complaint without prejudice, transmit a copy of the

Memorandum Opinion to the parties, and CLOSE this case.



        _____________________
             11/10/20                        ______________________________
                                                              /S/
              Date                                        Paula Xinis
                                                    United States District Judge
